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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA
138 Delaware Avenue
Buffalo, New York 14202,

                 Plaintiff,

           -v-

Joseph Anderson,

                 Defendant.                        1:08-CR-00322-001




                     SATISFACTION OF MONETARY JUDGMENT



     The above-named defendant has paid in full and/or satisfied the

monetary imposition imposed against the defendant on February 24, 2011,

and entered on March 1, 2011.



     The Clerk of the United States District Court for the Western

District of New York is hereby authorized and empowered to satisfy and

cancel record of the above-referenced judgment.


     DATED:   Buffalo, New York, March 18, 2011.


                                    WILLIAM J. HOCHUL, JR.
                                    United States Attorney


                              BY:   s/KEVIN D. ROBINSON
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